                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                  1:16 po 04


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )
                                            )            ORDER
1) CLAY DOUGLAS BRYSON,                     )
2) JAMES HARRISON JENKINS,                  )
3) TERRY RONALD JENKINS,                    )
4) DAVID ERIC WILLIAMS,                     )
                                            )
                  Defendants.               )
____________________________________        )


         THIS MATTER came before the undersigned on December 5, 2016 for the

purpose of hearing a Motion to Dismiss filed by Defendants James Harrison Jenkins

(#14) and Terry Ronald Jenkins (#13).       At that time, the Defendants, James

Harrison Jenkins and Terry Ronald Jenkins requested additional time to file a reply

to the Government’s Response in Opposition to Defendants’ Motions to Dismiss

(#20).      The Government, through AUSA Richard Edwards, advised the

undersigned the Government had no objection to this request. The granting of this

request will necessitate an amendment to the scheduling Order (#12) previously

entered by this Court.

                                     ORDER

         IT IS, THEREFORE, ORDERED that the Defendants James Harrison

Jenkins and Terry Ronald Jenkins will be ALLOWED to file a reply to the response

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of the Government, such reply is to be filed on or before December 19, 2016.

      A hearing of the Motion to Dismiss of James Harrison Jenkins and Terry

Ronald Jenkins shall be held on January 11, 2017 in courtroom #2 of the United

States Courthouse in Asheville, NC at 9:30 a.m.

      It is further ORDERED that should a trial be required in this matter, the trial

of these matters shall be held jointly on January 23, 2017 in the United States

Courthouse in Asheville, North Carolina beginning at 9:30 am.



                                      Signed: December 16, 2016




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